ee

wl se, © oe? ee ee ee ee —— noe NN ora

UNITED STATES DISTRICT COURT g

MIDDLE DISTRICT OF FLORIDA

ORLANDO DIVISION : ey

 

TRANS CONTINENTAL RECORDS, INC.,

_ BMG ENTERTAINMENT, BMG ARIOLA :
MUENCHEN GmbH, TRANS CONTINENTAL : 99-1282-Civ-Orl-22C
ENTERTAINMENT, INC, and LOUIS J. :

Case 6:99-cv-01282-ACT =Bocument 69 Filed 11/22/99 Page 1 of 4 PagelD 1336
—

PEARLMAN,
Plaintiffs, : DECLARATION OF JUSTIN
: RANDALL TIMBERLAKE
-against- : IN OPPOSITION TO
. : MOTION FORA
ZOMBA RECORDING CORPORATION, : PRELIMINARY

CLIVE CALDER, JAMES LANCE BASS, : INJUNCTION
JOSHUA SCOTT CHASEZ, JOSEPH :
ANTHONY FATONE, JR., CHRISTOPHER

- ALAN KIRKPATRICK, and JUSTIN
RANDALL TIMBERLAKE,

Defendants.
Xx

 

I, JUSTIN RANDALL TIMBERLAKE, pursuant to 28 U. S. C. § 1746,

declare under penalty of perjury, as follows:

1. I am a member of the group ‘N SYNC. This declaration opposes

plaintifts’ motion for a prelirainary injunction.

2. I have read the declaration of my mom, Lynn Harless, in this matter as

well as the declarations of my fellow ‘N SYNC members, Lance Bass, J. C. Chasez, Joe

64

Su,
Case 6:99-cv-01282-ACC—~Document 69 Filed 11/22/99 Page 2 of 4 PagelD 1337

—_— See —~

Fatone, Jr., and Chris Kirkpatrick. I agree with what they say about how ‘N SYNC got
started, how we got our name, and how we developed our “sound” and “look.”

3. Twas 14 years old when ‘N SYNC was formed. Now, at age 18, I have
diseffirmed the contracts that Lou got my mother and me to sign. Lou says to people on
TV that this is all a fight between two record companies, but itisn’t. This is all about the
way Lou misled us guys into thinking that he was our protector and manager, while taking
the money we made and our name for himself.

4. Lou Pearlman, or “Big Poppa” as he wanted us to call him, backed our
group financially, but had no artistic input into anything we did. My mom, Robin Wiley, ©
our vocal coach, and the guys and I were responsible for everything on the creative side.
We also were the ones who generated early interest in the band. 1 remember my mom and
Robin designing and mailing flyers to my fans from the Mickey Mouse Club for
‘N SYNC’s early performance at Pleasure Island, and also to J. C.’s. At the same time,
the guys and I worked to get our friends, and their friends, to come out and see us.

5. Lou repeatedly told us that he, “Big Poppa,” was the sixth member of
the group, and someone we could tmist to take care of us. I never realized how little we
could trust Lou until Jan Bolz, the head of BMG Ariola in Germany, told us we should
hire a lawyer.

6. It was only after we got a lawyer to review the contracts Lou had had
us sign that I understood what Lou had done, and why we had so little to show for all the

hard work we had put in since forming our group. Up until that time, I had no idea that
2
Case 6:99-cv-01282-ACC-—Document 69 Filed 11/22/99 Page < 3 of 4 PagelD 1338

ee ee ee eee es —_ ow ee oe

the contracts Lou had gotten us to sign entitled him and his companies to such huge
percentages of ‘N SYNC's income.
7, This was also the first tirnc J learned that we were not signed to RCA
Records, as Lou had led us to believe in late 1997, and in fact had no U.S. record deal.
8. By getting us to sign contracts he represented to be “standard” industry
deals (which I now understand are clearly not), and by pretending he was receiving no
more than the one-sixth due the “sixth member” of the band (while through double-
dipping and self-dealing taking huge sums which rightfully belonged to us), Lou
completely betrayed us. We trusted him. He knew we trusted him. He worked hard to
get that trust and we gave it to him. He was supposed to be our manager, working for us,
looking out for us because we didn't know anything about the business. It’s almost
unbelievable what he did to us, like taking our name for himself and claiming to own us.
9. want to make records and to perform with Chris, J. C., Joey and Lance
as ‘N SYNC. I really care about our fans, and J know how hurt they will be if we don’t

record and perform. It is amazing to me that Lou is trying to stop us just to get more of

our money.
ea — Case 6:99-cv-01282-ACC—~Document 69 Filed 11/22/99 Page 4 of 4 PagelD 1339
rane.

I declare under penalty of perjury that the foregoing is true and correct.

Executed this 20th day of November, 1999 at Los Angeles, California.

 
    

STIN RANDALL TIMBERLAKE
